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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
       Plaintiff,                                 )           No. 6:19-CR-42-REW-HAI
                                                  )
 v.                                               )
                                                  )                     ORDER
 CLARENCE MAJOR, III,                             )
               Defendant.
                                        *** *** *** ***

       This matter is before the Court on the Recommended Disposition (DE 41) of United States

Magistrate Judge Hanly A. Ingram, addressing Defendant’s guilty plea as to Counts Three and

Four of the Superseding Indictment (DE 12). DE 40 (Minutes). Defendant appeared before Judge

Ingram on January 9, 2020. Id. After consenting to plead before a United States Magistrate Judge

(DE 38) and engaging in the full colloquy required by Rule 11, he proceeded to plead guilty. DE

DE 41. Judge Ingram found Defendant competent to plead and that Defendant did so in a knowing

and voluntary fashion; he further found that an adequate factual basis supported the plea as to each

essential element of the charged offense. Id. Accordingly, Judge Ingram recommended that the

Court accept Defendant’s plea and adjudge him guilty of the offenses charged in Counts Three and

Four of the Superseding Indictment. Id.

       Defendant had three days within which to object to Judge Ingram’s recommendation, and

he has not done so. Nor has the United States objected. While this Court reviews de novo those

portions of a Recommended Disposition to which a party objects, see 28 U.S.C. § 636(b)(1), it is

not required to “review . . . a magistrate[] [judge’s] factual or legal conclusions, under a de novo

or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106 S. Ct.



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466, 472 (1985). When the parties do not object to the Magistrate Judge’s recommended

disposition, they waive any right to review. See Fed. R. Crim. P. 59(b); United States v. White, 874

F.3d 490, 495 (6th Cir. 2017) (“When a party . . . fails to lodge a specific objection to a particular

aspect of a magistrate judge’s report and recommendation, we consider that issue forfeited on

appeal.”); see also United States v. Branch, 537 F.3d 582, 587 (6th Cir. 2008) (noting that “[t]he

law in this Circuit is clear” that a party who fails to object to a magistrate judge’s recommendation

forfeits his right to appeal its adoption).

        The Court thus ADOPTS the Recommended Disposition (DE 41), accepts the plea, and

ADJUDGES Defendant guilty of Counts Three and Four of the Superseding Indictment. Given

the guilty adjudication and Major’s concession of forfeitability regarding the DE 12-identified

property per the plea agreement (see DE 39 ¶ 10), the Court provisionally FINDS that Defendant

has an interest in such property and preliminarily ORDERS Defendant’s interest in such property

FORFEITED pursuant to 21 U.S.C. § 853. Per Criminal Rule 32.2, and absent pre-judgment

objection, “the preliminary forfeiture order becomes final as to” Defendant at sentencing. Fed. R.

Crim. P. 32.2(b)(4)(A). The Court will further address forfeiture at that time. See id. at (b)(4)(B).

        The Court further CANCELS the jury trial (previously continued generally) as to Major.

An Order scheduling Defendant’s sentencing will follow. Major’s custodial status, per the record,

remains as detained.

        This the 16th day of January, 2020.




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